      Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 1 of 10 PageID #:1



                             THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

HARTFORD ACCIDENT AND INDEMNITY            )
COMPANY,                                   )
                                           )   No.
                  Plaintiff,               )
        vs.                                )
                                           )
ANDREW HUNT and KIMBERLY HUNT.             )
                                           )
                  Defendants.              )
                                           )

                          COMPLAINT FOR DECLARATORY JUDGMENT

        NOW COMES the Plaintiff, Hartford Accident and Indemnity Company (“Hartford”) by its

attorneys, Michael J. Duffy and Abigail E. Rocap of Wilson Elser Moskowitz Edelman & Dicker

LLP, and for its Complaint for Declaratory Judgment against Defendants Andrew Hunt and

Kimberly Hunt, states as follows:

                                    STATEMENT OF THE CASE

        1.    This action seeks a declaration, pursuant to 28 U.S.C. §2201, that Hartford owes

no insurance coverage obligations to Andrew and Kimberly Hunt (the “Hunts”) under a policy of

insurance issued by Hartford to Andrew Hunt in connection with a lawsuit filed against the

Hunts styled, Carlitos Mctizi v. Andrew Hunt and Kimberly Hunt, Case No. 16 L 651, which was

previously pending in the Circuit Court of the Twelfth Judicial Circuit, Will County, Illinois

(“Underlying Lawsuit”).




                                               1
2342363v.2
      Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 2 of 10 PageID #:2



                                               PARTIES

        2.      Hartford is an insurance company formed under the laws of the State of

Connecticut, with its principal place of business in Connecticut. Hartford conducts business in

Illinois and within the geographical boundaries of this District.

        3.      The Hunts are both citizens of Illinois and residents of this District.

                                     JURISDICTION AND VENUE

        4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332 as the amount in controversy exceeds $75,000.00 exclusive of costs and interest and the

parties are citizens of different states.

        5.      Venue is proper in this District pursuant to 28 U.S.C. §1391 as the case concerns

insurance policies issued in this District and the parties reside and/or conduct business in this

District.

                                            BACKGROUND

        6.      On September 1, 2016, Mctizic filed his Complaint at Law in the Underlying

Lawsuit alleging two counts of negligence against the Hunts stemming from a June 21, 2016

vehicle collision. A copy of the Complaint in the Underlying Lawsuit is attached hereto as

Exhibit A.

        7.      Hartford issued a homeowners insurance policy to Andrew Hunt, Policy No. 83

RBC 274618, effective from November 7, 2015 through November 7, 2016 (the “Hartford

Policy”). A Copy of the Hartford Policy is attached hereto as Exhibit B.

        8.      Subject to all of its terms, the Hartford Policy provides, in part, as follows:




                                                   2
2342363v.2
      Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 3 of 10 PageID #:3



                             HOMEOWNERS 3 – SPECIAL FORM

                                         AGREEMENT

             We will provide the insurance described in this policy in return for
             the premium and compliance with all applicable provisions of this
             policy.

             DEFINITIONS

             A.     In this policy, “you” and “your” refer to the “named
                    insured” shown in the Declarations and the spouse if a
                    resident of the same household. “We,” “us” and “our”
                    refer to the Company providing this insurance.

             B.     In addition, certain words and phrases are defined as
                    follows:

                    1.      “Aircraft Liability,” “Hovercraft Liability,” “Motor
                            Vehicle Liability” and “Watercraft Liability,” subject
                            to the provisions in b. below, mean the following:

                            a.     Liability for “bodily injury” or “property
                                   damage” arising out of the:

                                   (1)     Ownership of such vehicle or craft
                                           by an “insured”;

                                   (2)     Maintenance, occupancy, operation,
                                           use, loading or unloading of such
                                           vehicle or craft by any person;

                                   (3)     Entrustment of such vehicle or craft
                                           by an “insured” to any person;

                                   (4)     Failure to supervise or negligent
                                           supervision of any person involving
                                           such vehicle or craft by an “insured”;
                                           or

                                   (5)     Vicarious liability, whether or not
                                           imposed by law, for the actions of a
                                           child or minor involving such vehicle
                                           or craft.




                                              3
2342363v.2
      Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 4 of 10 PageID #:4



                           b.      For the purpose of this definition:

                                         *      *       *

                                   (4)       Motor vehicle means a “motor
                                             vehicle” as defined in 7. below.

                    2.     “Bodily injury” means bodily harm, sickness or
                           disease, including required care, loss of services
                           and death that results.

                                         *      *       *

                    5.     “Insured” means:

                           a.      You and residents of your household who
                                   are:

                                   (1)       Your relatives; or

                                   (2)       Other persons under the age of 21
                                             and in the care of any person named
                                             above;

                                         *      *       *

                    7.     “Motor vehicle” means:

                           a.      A self-propelled land or amphibious vehicle;
                                   or

                           b.      Any trailer or semitrailer which is being
                                   carried on, towed by or hitched for towing
                                   by a vehicle describe in a. above.

                                         *      *       *



                            SECTION II – LIABILITY COVERAGES

             A.     Coverage E – Personal Liability

                    If a claim is made or a suit is brought against an “insured”
                    for damages because of “bodily injury” or “property
                    damage” caused by an “occurrence” to which this
                    coverage applies, we will:

                                                4
2342363v.2
         Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 5 of 10 PageID #:5



                            1.       Pay up to our limit of liability for the damages for
                                     which an “insured” is legally liable; 1 and

                            2.       Provide a defense at our expense by counsel of our
                                     choice, even if the suit is groundless, false or
                                     fraudulent. We may investigate and settle any
                                     claim or suit that we decide is appropriate. Our
                                     duty to settle or defend ends when our limit of
                                     liability for the “occurrence” has been exhausted
                                     by payment of a judgment or settlement.

                                                   *      *       *

                                           SECTION III -- EXCLUSIONS

                   A.       “Motor Vehicle Liability”

                            1.       Coverages E and F do not apply to any “motor
                                     vehicle liability” if, at the time and place of an
                                     “occurrence,” the involved “motor vehicle”:

                                     a.      is registered for use on public roads or
                                             property;

                                     b.      Is not registered for use on public roads or
                                             property, but such registration is required
                                             by a law, or regulation issued by a
                                             government agency, for it to be used at the
                                             place of the “occurrence”; or

                                     c.      Is being:

                                             (1)       Operated in, or practicing for, any
                                                       prearranged or organized race,
                                                       speed contest or other competition;

                                             (2)       Rented to others;

                                             (3)       Used to carry persons or cargo for a
                                                       charge; or

                                             (4)       Used for any “business” purpose
                                                       except for a motorized golf cart
                                                       while on a golfing facility.

1
    This language was amended by endorsement. See Ex. C, Form HW 01 47 06 12, Special Provisions – Illinois.

                                                          5
2342363v.2
      Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 6 of 10 PageID #:6



                                          *      *      *

                           SECTION II – ADDITIONAL COVERAGES

             We cover the following in addition to the limits of liability:

                                          *      *      *

             C.     Damage To Property Of Others

                                          *      *      *

                    2.      We will not pay for “property damage”:

                                          *      *      *

                            e.      Arising out of:

                                          *      *      *

                                    (3)       The    ownership,      maintenance,
                                              occupancy, operation, use, loading
                                              or unloading of aircraft, hovercraft,
                                              watercraft or “motor vehicles.”

                                          *      *      *



                                  SECTION II -- CONDITIONS

                                          *      *      *

             C.     Duties After “Occurrence”

                    In case of an “occurrence,” you or another “insured” will
                    perform the following duties that apply. We have no duty
                    to provide coverage under this policy if your failure to
                    comply with the following duties is prejudicial to us. You
                    will help us by seeing that these duties are performed:

                    1.      Give written notice to use or our agent as soon as
                            is practical, which set forth:

                            a.      The identity of the policy and the “named
                                    insured” shown in the Declarations;


                                                 6
2342363v.2
      Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 7 of 10 PageID #:7



                               b.     Reasonably available information on the
                                      time, place and circumstances of the
                                      “occurrence,” and

                               c.     Names and addresses of any claimants and
                                      witnesses;

                                          *      *       *

               H.      Other Insurance

                       This insurance is excess over other valid and collectible
                       insurance except insurance written specifically to cover as
                       excess over the limits of liability that apply in this policy.

                                          *      *       *

        9.     On October 3, 2016, Andrew Hunt tendered the Underlying Lawsuit to Hartford

requesting defense and/or indemnification under the Hartford Policy. Hartford received this

tender of the Underlying Lawsuit on October 4,2017.

        10.    On or around October 25, 2016, Hartford denied it owed Andrew and/or

Kimberly Hunt any insurance coverage obligations for the Underlying Lawsuit.

        11.    Upon information and belief, the parties to the Underlying Lawsuit have reached

a settlement and the Underlying Lawsuit was dismissed with prejudice.

        12.    Hartford denies any obligation to provide the Hunts with a defense and/or

indemnification in connection with the Underlying Lawsuit.

        13.    An actual controversy exists between the parties concerning the parties’ rights

and obligations with respect to coverage for the claims in the Aluminum Lawsuit under the

insurance policies at issue, and pursuant to 28 U.S.C. §2201, this Court is vested with the power

to declare the rights and liabilities of the parties hereto and to give such other and further relief

that may be necessary.


                                                 7
2342363v.2
      Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 8 of 10 PageID #:8



                                        COUNT I
              THE “MOTOR VEHICLE LIABILITY” EXCLUSION PRECLUDES COVERAGE

        14.     Plaintiff incorporates and restates the allegations of Paragraphs 1 through 13

above as if fully set forth herein.

        15.     The Hartford Policy does not apply to claims against an insured because of

“bodily injury” or “property damage” arising from “motor vehicle liability.”

        16.     The claims in the Underlying Lawsuit concern claims because of “bodily injury”

arising from “motor vehicle liability.”

        17.     As such, the claims in the Underlying Lawsuit fall within the “Motor Vehicle

Liability” Exclusion in the Hartford Policy.

        18.     Accordingly, Hartford owes no defense or indemnity obligations to the Hunts for

the claims against them in the Underlying Lawsuit.

        WHEREFORE, Plaintiff, Hartford, prays that this Court enter the following relief:

        A.      A declaration finding that Hartford owes no duty to defend or indemnify the

                Hunts for the claims against them in the Underlying Lawsuit; and

        B.      For all such just and equitable relief, including costs of this suit.

                                           COUNT II
                                  BREACH OF NOTICE CONDITION

        19.     Plaintiff incorporates and restates the allegations of Paragraphs 1 through 13

above as if fully set forth herein.

        20.     The Hartford Policy requires that Hartford be notified of the time, place and

circumstances of an “occurrence” “as soon as practical.”




                                                   8
2342363v.2
      Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 9 of 10 PageID #:9



        21.     Hartford’s first notice of the auto accident described in the Underlying Lawsuit

was on October 4, 2016.

        22.     The Hunts failed to give timely notice and, consequently, the notice condition of

the Hartford Policy has been breached and whatever coverage might have otherwise been

available for the Underlying Lawsuit has been forfeited.

        23.     Therefore, Hartford owes no coverage to the Hunts for the Underlying Lawsuit.

        WHEREFORE, Plaintiff, Hartford, prays that this Court enter judgment in its favor:

                A.      Finding that Hartford owes no coverage to the Hunts for the claims

                        against them in the Underlying Lawsuit; and

                B.      For all such just and equitable relief, including costs for this suit.

                                          COUNT III
                                 THE HARTFORD POLICY IS EXCESS

        24.     Plaintiff incorporates and restates the allegations of Paragraphs 1 through 13

above as if fully set forth herein.

        25.     The Hartford Policy provides that the liability coverage provided in Section II is

excess over other valid and collectible insurance.

        26.     Upon information and belief, the Hunts’ auto insurer is defending or has

defended the Underlying Lawsuit.

        27.     Consequently, even if applicable, which is not the case, the Hartford Policy is

excess over that other valid and collectible insurance with respect to the Underlying Lawsuit

and has/had no obligation to defend the Hunts.




                                                   9
2342363v.2
     Case: 1:17-cv-05425 Document #: 1 Filed: 07/25/17 Page 10 of 10 PageID #:10



        WHEREFORE, Plaintiff, Hartford, prays that this Court enter judgment in its favor:

               A.     Finding that the Hartford Policy is excess with respect to the claims

                      asserted against the Hunts in the Underlying Lawsuit;

               B.     Hartford has/had no duty to defend the Hunts in the Underlying Lawsuit;

                      or

               C.     For all such just and equitable relief, including costs for this suit.

                                      Respectfully submitted,

                                      HARTFORD ACCIDENT AND INDEMNITY COMPANY

                                      By:     /s/ Michael J. Duffy
                                                          One of Its Attorneys


Michael J. Duffy (6196669)
michael.duffy@wilsonelser.com
Abigail E. Rocap (6310024)
Abigail.rocap@wilsonelser.com
Wilson Elser Moskowitz Edelman & Dicker LLP
55 West Monroe Street - Suite 3800
Chicago, IL 60603
(312) 704-0550
(312) 704-1522 (fax)




                                                10
2342363v.2
